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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

JAMES BOSWELL and                                       )
PAMELA BOSWELL,                                         )
                                                        )
       Plaintiffs,                                      )
                                                        )
v.                                                      )   CASE NO. 2:18-cv-00130
                                                        )
RIVERDALE CREDIT UNION and                              )
APRIL EZELLE,                                           )
                                                        )
       Defendants.                                      )


                        RESPONSE TO ORDER TO SHOW CAUSE

       The National Credit Union Administration Board (the “NCUA Board”), in its capacity as

liquidating agent for Riverdale Credit Union, hereby responds as follows to the April 10, 2018

Order [Doc. 6] directing that it show cause why this action should not be remanded to the Circuit

Court of Dallas County for a presumptive dismissal in that forum:

       1.       The NCUA Board removed proceedings to this Court on March 19, 2018.

[Doc. 1]. That was only five days beyond the March 14, 2018 deadline for Plaintiffs to have

submitted an administrative Proof of Claim Form as required by the statutory and regulatory

framework established under the Federal Credit Union Act.        See 12 U.S.C. § 1787(b) and 12

C.F.R. § 709.0 et seq. (establishing exclusive procedure for asserting claims against credit unions

for which the NCUA Board has been appointed liquidating agent). Based upon prior discussions

with counsel for Plaintiffs regarding the mandatory nature of the administrative claims process,

the NCUA Board was under the impression that an administrative claim potentially had been

submitted prior to the deadline but not yet received.



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       2.       Still with no record of an administrative claim having been received by its

responsive pleading deadline of April 26, 2018, the NCUA Board filed a motion to dismiss on the

basis that 12 U.S.C. § 1787(b)(13)(D) would preclude judicial review of Plaintiffs’ claims absent

evidence of a timely submitted administrative Proof of Claim.          [Doc. 3].   Because of the

compressed period of deadlines involved, the NCUA Board remained careful not to risk stating

definitively that Plaintiffs had not met that requirement. [Doc. 3 at p. 2: “The NCUA Board is not

aware of any Proof of Claim Form having been submitted by Plaintiffs.”].1

       3.       With over thirty days now having elapsed since the administrative claim deadline,

and with no administrative claim having been received for consideration (and hence no means of

administrative denial), the NCUA Board can state with confidence that Plaintiffs are conclusively

precluded from achieving administrative exhaustion.

       4.       Against that backdrop, the question raised by this Court fundamentally is whether

under such circumstances it may accept removal and then immediately dismiss Plaintiffs’ barred

claims for non-compliance with the administrative exhaustion requirement (or whether the

dismissal must be entered in state court). Respectfully, the NCUA Board submits that this Court

is the appropriate forum for conducting the dispositive federal statutory and regulatory analysis.

       5.       Because Riverdale Credit Union was placed into liquidation prior to the

commencement of litigation, jurisdiction over Plaintiffs’ litigation claims potentially could exist

only in this Court, i.e., the Federal Credit Union Act provides no jurisdictional vehicle for

commencing post-liquidation claims in state court. See 12 U.S.C. § 1787(b). It follows then that



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  The NCUA Board suggested that a stay might be appropriate in the event that an administrative
claim was shown to have been timely submitted but not yet received or processed. However, as
this Court noted in its April 10, 2018 Order, the mere submission of a timely claim without a
corresponding denial (either actual or constructive) would not save prematurely filed litigation
from dismissal.
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proceedings improperly brought in state court should be removable as being within the original

jurisdiction of the appropriate federal court for an evaluation in that forum of whether the claimant

has complied with the administrative exhaustion requirement for filing suit.           To conclude

otherwise would give state courts the potential to thwart the uniform process clearly contemplated

under federal law.

       6.       Here, Plaintiffs were advised of the mandatory administrative claims procedure

prior to their initiation of proceedings in the Circuit Court of Dallas County. Assuming arguendo

that Plaintiffs possess some theory to justify their failure to strictly comply in that regard

notwithstanding the absence of any statutory or regulatory exceptions, then this Court would

appear to have original (and exclusive) jurisdiction pursuant to 12 U.S.C. § 1787(b)(6)(A) over

any resulting litigation.   Accordingly, it is respectfully submitted that Plaintiffs should be

compelled to present in this Court any alleged theories excusing their non-compliance with the

administrative claims procedure of 12 U.S.C. § 1787(b), i.e., an evaluation of Plaintiffs’ position

should be conducted as part of this Court’s jurisdictional analysis of the removal/remand issue. If

this Court subsequently concludes that jurisdiction is absent, then it may revisit the propriety of

remand and include any additional guidance that might prove helpful to a state court with limited

familiarity of the underlying federal framework.

       7.       Plaintiffs obviously believe that the consequences of their non-compliance with

mandatory provisions of 12 U.S.C. § 1787(b) will not be enforced by the Circuit Court of Dallas

County. Although this Court’s April 10, 2018 Order suggests that upon remand the claims against

the NCUA Board “presumably will be dismissed for want of jurisdiction” [Doc. 6 at p. 3],

experience cautions that such efficiencies are not always assured. The NCUA Board thus




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potentially could be forced to suffer the time and expense of protracted litigation in state court

over the interpretation and impact of an exclusively federal statutory and regulatory process.

       8.       In candor, the NCUA Board is not aware of any prior decision addressing

12 U.S.C. § 1787(b) in the present posture of a removed action in which dismissal is sought.

Reported decisions under the relevant provisions are scant. What is clear (and confirmed by this

Court’s April 10, 2018 Order), however, is that a dismissal would be appropriate had Plaintiffs

initially commenced the same proceedings in federal court. See Sicherman v. National Credit

Union Admin. Bd., 535 B.R. 196, 200 (Bankr. N.D. Ohio 2015) (“[T]he statute precludes judicial

review until the administrative claims procedure is complete.”) (quoting National Credit Union

Admin. Bd. v. Lormet Community Federal Credit Union, 2010 WL 4806794, *4 (N.D. Ohio Nov.

18, 2018)); Burtrand v. Zalesny, 2012 WL 13028204, *3 (N.D. W. Vir. Aug. 29, 2012) (“If an

individual does not follow the FCUA administrative procedure, then no court has jurisdiction over

the claim.”); Acciard v. Whitney, 2011 WL 4552564, *3 (M.D. Fla. Sept. 30, 2011) (“Section 1787

of the NCUA governs the liquidation of federally insured credit unions and provides an

administrative claim procedure which serves as a jurisdictional prerequisite to litigation. … A

prospective plaintiff’s failure to follow these procedures divests the district court of jurisdiction

over the prospective claim.”) (emphasis added). Judicial economy thus would be best served by

dismissing Plaintiffs’ claims against Riverdale Credit Union in this Court or, at a minimum, by

addressing in this Court any potential arguments that Plaintiffs might have for excusing their non-

exhaustion under 12 U.S.C. § 1787(b).




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                                        CONCLUSION

       9.       By federal statute and regulation, the only mechanism by which claimants can

commence proceedings against a credit union over which the NCUA is serving as liquidating agent

is through compliance with the administrative claims procedure of 12 U.S.C. § 1787(b) followed

by litigation in federal court. If Plaintiffs contend that they are somehow excused from the

administrative exhaustion requirement such that they can proceed immediately with litigation, then

such issue should be evaluated by this Court in determining whether it would be appropriate to

exercise the exclusive federal jurisdiction vested under 12 U.S.C. § 1787(b)(6)(A).

                                       Respectfully submitted,

                                       /s/ Chad W. Bryan
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of April 2018 this document was filed electronically
via the CM/ECF filing system, which will send notice to the following counsel of record:

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